         Case 4:17-cr-00328-BLW Document 40 Filed 09/26/18 Page 1 of 4




                   UNITED STATES DISTRICT COURT
                         DISTRICT OF IDAHO

UNITED STATES OF AMERICA
                                                         Case No.: 4:17-cr-328-BLW
                            Plaintiff.
vs.                                                      NOTICE

TRAVIS M NEWBOLD
                            Defendant(s).



              TAKE NOTICE that an ARRAIGNMENT on the enclosed Second
Superseding Indictment for the above-named defendant is set for October 2, 2018 at
2:00 p.m. in the United States Courthouse, 550 West Fort Street, Boise, Idaho, Fifth
Floor, before U.S. Magistrate Judge Candy W. Dale.
              The United States Attorney=s Office has advised the Court that the
indictment contains no new counts or substantial amendments to the criminal counts
against your client. Only technical or minor changes have been made as it pertains to
your client. These amendments do not affect the maximum penalty, or implicate the
defendant=s right to have an additional thirty (30) days to prepare for trial under
18 U.S.C. '3161(c)(2).
              The opportunity is extended to the defendant who has previously
appeared in this case and who intends to plead not guilty to this superseding indictment,
to enter this plea in writing rather than appearing in open court for arraignment. If the
defendant wishes to proceed in this manner, the defendant and attorney shall sign the
enclosed Not Guilty Plea form and shall have it filed with the court no later than
October 1, 2018 at 12:00 p.m. after which it will be placed in the record.
         Case 4:17-cr-00328-BLW Document 40 Filed 09/26/18 Page 2 of 4




              If the written plea is not filed by the above-mentioned date, it will be
deemed that the defendant has not elected this option. The defendant shall appear at
the place and time designated in the first paragraph of this Notice for arraignment on the
Superseding Indictment for the purpose of entering an oral plea.
       Regardless of the option selected by the defendant to enter a plea on the
charges listed in the superseding indictment, the jury trial will remain set for October
15, 2018 at 1:30 p.m. before U.S. District Judge B. Lynn Winmill.


              DATED:       September 26, 2018
                                                         STEPHEN W. KENYON
                                                         CLERK OF THE COURT


                                                         By:    /s/ Sunny Trumbull
                                                                Operations Specialist
cc:    Bryan Wheat, AUSA
       Steven V Richert
       U.S. Marshal
       U.S. Probation
         Case 4:17-cr-00328-BLW Document 40 Filed 09/26/18 Page 3 of 4




                       UNITED STATES DISTRICT COURT

                                 DISTRICT OF IDAHO


UNITED STATES OF AMERICA                                  Case No.: 4:17-cr-328-BLW

                                    Plaintiff.            ACKNOWLEDGMENT AND
v.                                                        WRITTEN PLEA OF
                                                          NOT GUILTY TO
                                                          SUPERSEDING INDICTMENT
TRAVIS M NEWBOLD


                                    Defendant.


       I acknowledge that I have received a copy of the Superseding Indictment dated
September 26, 2018, and am aware of the charge(s) against me. I have reviewed
those charge(s) listed in the Superseding Indictment with counsel.
       I acknowledge that the superseding indictment does not include any new counts
or substantial amendments to the criminal counts against me. Only technical or minor
changes have been made to the indictment.
       I acknowledge that the changes made in the Superseding Indictment do not
affect the maximum penalty, or implicate an additional thirty (30) days to prepare for trial
under 18 USC '3161(c)(2).
       I further acknowledge that an arraignment has been set for [Arraignment
Date/Time], in this matter and that I have a right to appear in open court with my
attorney to enter my plea to the charge(s) in the Superseding Indictment.
       I acknowledge that I am required to enter a plea to these charge(s) and elect to
file a written plea of not guilty to the count(s) listed in the Superseding Indictment.
       Therefore, my plea to each count charged in the Superseding Indictment is NOT
GUILTY and, I hereby consent to having my plea entered by the court without my
appearance.
         Case 4:17-cr-00328-BLW Document 40 Filed 09/26/18 Page 4 of 4




      I further acknowledge that the conditions of my release previously set remain in
effect and I remain bound thereby,
      I also acknowledge that my trial on this Superseding Indictment remains set for
October 15, 2018 at 1:30 p.m. before U.S. District Judge B. Lynn Winmill.



DATED:                                         _______________________________
                                               Signature of Defendant

                                               _______________________________
                                               Signature of Attorney for Defendant




                  ACCEPTANCE OF WRITTEN NOT GUILTY PLEA

The above written Not Guilty Plea of defendant, Travis M Newbold, is hereby accepted
by this court and entered into the record.


DATED:                                         ________________________________
                                               Signature of U.S. Magistrate Judge




cc:   Bryan Wheat, AUSA
      Steven V Richert, Defense Attorney
      U.S. Probation
      US Marshal
